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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                         Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     PONCE SUBWAY CORP.
     d/b/a Subway on Ponce and
     PONCE DE LEON PROPERTIES L.C.

                   Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Ponce Subway Corp. doing business as a Subway restaurant

     franchise located at 2211 Ponce de Leon Boulevard and Defendant Ponce De Leon

     Properties L.C. for injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the Americans

     with Disabilities Act (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




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             3.      Defendants are conducting business within the State of Florida and within the

     jurisdiction of this court.

                                               PARTIES

             4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff has a

     “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

     due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

     US Code §12102(1)(A), (2) and in 28 C.F.R. §36.105(b)(2) and 28 C.F.R.

     §36.105(2)(iii)(D). Plaintiff is also a “tester” of compliance with the ADA/ADAAG.

             5.      Defendant Ponce Subway Corp. (also referenced as “Defendant Ponce,”

     “operator,” lessee” or “co-Defendant”) is a Florida for-profit corporation and a franchise

     operator of the Subway fast-food restaurant franchise located at 2211 Ponce de Leon

     Boulevard, Coral Gables, Florida 33134, which is the subject of this action.

             6.      Defendant Ponce De Leon Properties L.C. (also referenced as “Defendant

     Ponce Properties,” “lessor,” “owner,” or “co-Defendant”) is the owner of Folio 03-4108-

     007-2330, which represents real property located at 2211 Ponce de Leon Boulevard, Coral

     Gables, Florida 33134. Defendant Ponce Properties’ real property is commercial property

     built-out as a Verizon retail store, the Chandler’s Place restaurant a Gyros and Salads eatery,

     and as a Subway fast-food restaurant.

                                                FACTS

             7.      Defendant Ponce Properties leases a portion of its 2211 Ponce de Leon

     Boulevard real property to co-Defendant Ponce whom in turn operates its franchise Subway

     restaurant within that leased space.




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            8.      At all times material hereto, Defendant Ponce has been leasing commercial

     space from Defendant Ponce Properties and has been utilizing that commercial space for the

     operation of its franchised Subway restaurant.

            9.      Defendant Ponce’s franchised Subway restaurant serves food and drinks and

     is open to the general public and therefore is a place of public accommodation pursuant to

     42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2) as “[A] restaurant, bar, or other

     establishment serving food or drink.” The Subway restaurant which is the subject to this

     action is also referred to as “Subway (restaurant),” “Subway on Ponce,” “restaurant,” or

     “place of public accommodation.”

            10.     Subway brand fast-food restaurants are franchised restaurants that primarily

     sell submarine sandwiches, salads and beverages. The Subway brand has been franchised

     since 1974. As of June 2021, Subway had approximately 41,600 locations in 104 countries

     and territories, all independently owned (franchised). These locations are largely

     concentrated in North America, with 21,796 in the United States, 2881 in Canada, and 758

     in Mexico.

            11.     As the franchisee owner/operator of a Subway fast-food restaurant open to

     the public, Defendant is defined as a “Public Accommodation" within meaning of Title III

     because it is a private entity which owns and operates establishments serving food and

     drinks; 42 U.S.C. §12182, §12181(7)(B); 28 C.F.R. §36.104(2).

            12.     As the owner of commercial property part of which is built out as a fast-food

     restaurant open to the general public, Defendant Ponce Properties is also defined as a

     “Public Accommodation" within meaning of Title III; 42 U.S.C. §12182, §12181(7)(B) and

     28 C.F.R. §36.104(2).




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            13.     Due to the close proximity of the Subway restaurant to Plaintiff’s home, on

     January 2, 2022 Plaintiff went to the restaurant with the intent of purchasing a subway

     sandwich meal.

            14.     Plaintiff had difficulty perambulating into the restaurant due to the weight of

     the entry door and met impediments to eating his meal in the outdoor seating area due to

     that seating area’s non-compliance with the ADA. When Plaintiff had occasion to visit the

     restroom, Plaintiff met multiple areas of inaccessibility due to the fact that he is confined to

     his wheelchair.

            15.     While Plaintiff had purchased a sandwich meal at the Subway restaurant,

     Plaintiff left feeling excluded, humiliated and dejected.

            16.     Plaintiff has been denied full and equal access by the operator of the Subway

     restaurant (Defendant Ponce) and by the owner of the commercial property which houses

     the restaurant (Defendant Ponce Properties).

            17.     On information and belief, as a franchise operator of a Subway restaurant,

     Defendant Ponce is well aware of the need to provide equal access to individuals with

     disabilities. Defendant Ponce’s failure to reasonably accommodate individuals with

     disabilities at its franchised Subway restaurant is/was willful, malicious, and oppressive and

     in compete disregard for the civil rights of Plaintiff and in violation of 28 C.F.R. §36.302.

            18.     On information and belief, as an investor in commercial property, Defendant

     Ponce Properties is aware of the ADA and the need to provide for equal access within its

     commercial property. Therefore, Defendant Ponce Properties’ failure to reasonably

     accommodate individuals with disabilities is/was willful, malicious, and oppressive and in

     compete disregard for the Civil Rights of Plaintiff and in violation of 28 C.F.R. §36.302.




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             19.       Based on the above delineated access impediments, Plaintiff has been denied

     full and equal access by the operator of that restaurant (Defendant Ponce) and by the owner

     of the commercial property which houses the restaurant (Defendant Ponce Properties).

             20.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             21.       Plaintiff is and has been a customer of Subway restaurants and continues to

     desire to return to the Subway restaurant located at 2211 Ponce de Leon Boulevard to

     purchase a meal, but Plaintiff continues to be injured in that he is concerned that he will

     again be humiliated, segregated, and discriminated against due to the architectural barriers

     and other barriers to access, all which are in violation of the ADA.

             22.       Any and all requisite notice has been provided.

             23.       Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                       COUNT I – VIOLATIONS OF TITLE III OF THE ADA

             24.       The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Over thirty years have passed since enactment of the ADA and there is no excuse for public

     accommodations and places of public accommodation to have failed to comply with the

     legislation.

             25.       Congress explicitly stated that the purpose of the ADA was to:




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             (i)       provide a clear and comprehensive national mandate for the
                       elimination of discrimination against individuals with disabilities;
             (ii)      provide clear, strong, consistent, enforceable standards addressing
                       discrimination against individuals with disabilities; and,
             (iii)     invoke the sweep of congressional authority, including the power to
                       enforce the fourteenth amendment and to regulate commerce, in
                       order to address the major areas of discrimination faced on a daily
                       by people with disabilities.

                       42 U.S.C. §12101(b)(1)(2) and (4).

             26.       Prior to the filing of this lawsuit, Plaintiff personally visited the Subway

     restaurant located at 2211 Ponce de Leon Boulevard to purchase a meal; however, Plaintiff

     was denied adequate accommodation because, as a disabled individual who utilizes a

     wheelchair for mobility, he met barriers to access when seeking access to the restaurant’s

     goods and services and when utilizing the restroom. Therefore, Plaintiff has suffered an

     injury in fact.

             27.       Defendant Ponce and Defendant Ponce Properties have discriminated (and

     continue to discriminate) against Plaintiff by denying full and equal access to, and full and

     equal    enjoyment       of,   goods,   services,       facilities,   privileges,   advantages   and/or

     accommodations at the Subway restaurant located at 2211 Ponce de Leon Boulevard, in

     derogation of 42 U.S.C. §12101 et seq., and as prohibited by 42 U.S.C. §12182 et seq. by

     failing to barriers to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal

     is readily achievable.

             28.       Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     Subway restaurant located at 2211 Ponce de Leon Boulevard.




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            29.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against disabled

     patrons in derogation of 28 C.F.R. Part 36.

            30.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

            31.     The commercial space which is owned by Defendant Ponce Properties

     houses a Subway restaurant franchise (operated by Defendant Ponce) which is in violation

     of 42 U.S.C. §12181 et seq., the ADA and 28 C.F.R. §36.302 et seq. Both Defendants are

     discriminating against the Plaintiff as a result of inter alia, the following specific violations:

       i.   As to Defendant Ponce (lessee/operator) and Defendant Ponce Properties

            (owner/lessor) (jointly and severally), Plaintiff had difficulty using the main door

            without assistance, as the main door does not have a sloped surface with in the

            required maneuvering clearance of the door. This is a violation of Section 4.13.6 of

            the ADAAG and Section 404.2.4 of the 2010 ADA Standards for Accessible Design.

            Section 4.13.6 states that the minimum maneuvering clearances for doors be within

            specifications shown in Fig. 25 and that the ground floor within the required

            clearance be level and clear. The clear maneuvering clearance for a front approach

            must be 48 min (and for side approach, 54 by 42 min), which not attained in the

            instant case.




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       ii.   As to Defendant Ponce (lessee/operator) and Defendant Ponce Properties

             (owner/lessor) (jointly and severally), Plaintiff had difficulty using the exterior

             seating (dining tables), as the restaurant dining did not provide for designated

             handicapped seating accessible by wheelchair, in violation of 28 C.F.R. Part 36,

             Section 4.32.4, Section 5.4 and 2020 ADA Standards for Accessible Design Section

             902 (provision of accessible toe and knee clearance) and Section 226 (where dining

             surfaces are provided for the consumption of food or drink, at least five percent (5%)

             of the seating spaces and standing spaces at the dining surfaces comply with Section

             902), which requires that all dining areas, including outdoor seating areas be

             accessible in clear floor/ground space, size and height.

      iii.   As to Defendant Ponce (lessee/operator) and Defendant Ponce Properties

             (owner/lessor) (jointly and severally), Plaintiff could not transfer to the toilet without

             assistance, as the required maneuvering clearance was not provided due to the

             encroaching item (trash can), which encroaches over the accessible water closet clear

             floor space. This is a violation of Section 4.16.2 of the ADAAG (which specifies the

             amount of space required at an accessible toilet, which includes clear floor space

             around fixtures) and Section 604.3.1 of the 2010 ADA Standards for Accessible

             Design which states that water closet clearance shall be 60 inches (1525 mm)

             minimum measured perpendicular from the side wall and 56 inches (1420 mm)

             minimum measured perpendicular from the rear wall).

      iv.    As to Defendant Ponce (lessee/operator) and Defendant Ponce Properties

             (owner/lessor) (jointly and severally), Plaintiff was exposed to a cutting/burning

             hazard at the lavatory sink which does not have completely wrapped bottom sink




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            pipes, therefore there is no proper insulation protecting users of that sink against the

            plumbing pipes under the sink. This is a violation of Section 4.19.4 of the ADAAG

            which states that hot water and drain pipes under lavatories shall be insulated or

            otherwise configured to protect against contact. This is also a violation of Section

            606.5 of the 2010 ADA Standards for Accessible Design, because the lavatory pipes

            are not fully wrapped or maintained.

      v.    As to Defendant Ponce (lessee/operator) and Defendant Ponce Properties

            (owner/lessor) (jointly and severally), Plaintiff could not use the soap dispenser

            without assistance, as the lavatory soap dispenser is not mounted in the required

            location in violation of 28 C.F.R. Part 36. The soap dispenser is not mounted in

            accordance with the forward reach guidelines delineated at Section 4.2.5 (Fig 5) of

            the ADAAG. This is also a violation of the 2010 ADA Standards for Accessible

            Design, specifically Section 606.1 which states that when soap and towel dispensers

            are provided, they must be within the reach ranges specified in Section 308.2.1. This

            section states that, where a forward reach is unobstructed, the high forward reach

            shall be 48 inches (1220 mm) maximum and the low forward reach shall be 15

            inches (380 mm) minimum above the finished floor or ground.

            32.     Pursuant to 42 U.S.C. §12101et seq. and 28 C.F.R. §36.304, Defendants are

     required to make the Subway restaurant commercial space located at 2211 Ponce de Leon

     Boulevard accessible to persons with disabilities since January 28, 1992. Defendants have

     jointly and severally failed to comply with this mandate.

            33.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the




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     restaurant therein such that it is made readily accessible to, and useable by, individuals with

     disabilities to the extent required by the ADA.

            WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against the

     commercial property owner Defendant Ponce De Leon Properties L.C. and Defendant Ponce

     Subway Corp. (the operator of the Subway restaurant located within that commercial

     property) and requests the following relief:

               a)       The Court declare that Defendants have violated the ADA;

               b)       The Court enter an Order directing Defendants to evaluate and neutralize

               their policies, practices and procedures toward persons with disabilities,

               c)       The Court enter an Order requiring Defendants to alter the commercial

               property and the Subway restaurant located at 2211 Ponce de Leon Boulevard

               such that all areas are accessible to and usable by individuals with disabilities to

               the full extent required by the Title III of the ADA;

               d)       The Court award reasonable costs and attorneys fees; and

               e)       The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 11th day of February 2022.

                                                    Respectfully submitted,

                                                    /s/ J. Courtney Cunningham
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